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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

                                               §
 FG SRC LLC,                                   §
                                               §
        Plaintiff,                             §
                                               §
        v.                                     §       Case No. 6:20-CV-00315-ADA
                                               §
 INTEL CORPORATION,                                    Jury Trial Demanded
                                               §
                                               §
        Defendant.                             §



         JOINT STIPULATION TO TRANSFER VENUE TO AUSTIN DIVISION

       WHEREAS, the above-captioned action was filed by Plaintiff FG SRC LLC (“Plaintiff”)

against Defendant Intel Corporation (“Defendant”) in the United States District Court for the

Western District of Texas, Waco Division on April 24, 2020.

       WHEREAS, in the above-captioned action, Plaintiff alleges that certain of Defendant’s

products (the “Accused Products”) infringe U.S. Patent No. 7,149,867 (“the ’867 Patent”);

Defendant denies those allegations.

       WHEREAS, pursuant to 28 U.S.C. § 1404(b), Defendant alleges that transferring the

above-captioned action to the United States District Court for the Western District of Texas, Austin

Division, would serve the convenience of the parties and witnesses and the interest of justice; and

Plaintiff consents to the filing of this joint stipulation so long as the transferred case remains on

the docket of United States District Judge Alan D Albright.

       NOW, THEREFORE, Plaintiff and Defendant, through their respective counsel, hereby

jointly stipulate to the entry of an Order transferring the above-captioned action to the United

States District Court for the Western District of Texas, Austin Division and that the transferred


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case will remain on the docket of United States District Judge Alan D Albright. Plaintiff and

Defendant request that an Order be entered directing the Clerk of Court to transfer the above

captioned case to the Austin Division but to remain on the docket of this Court.1




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  Intel asserts that whether venue in either division (Waco or Austin) is appropriate depends on the facts of the case.
Here, Intel is not seeking to transfer out of the District because facts, balance of convenience, and public and private
factors in this particular case do not warrant transfer out of the District. However, given the extent of Intel’s
operations in other states, transfer out of this District may be appropriate in other cases involving different
circumstances.


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Dated: August 6, 2020                        Respectfully submitted,
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                                                    Counsel for Defendant Intel Corporation
                             CERTIFICATE OF CONFERENCE

I hereby certify that the parties met and conferred on August 6, 2020, and that Plaintiff and

Defendant agreed to request the relief sought herein.


                                                 /s/ Brian C. Nash
                                                 Brian C. Nash




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on all counsel of record via the Court’s ECF system on August 6, 2020.


                                                 /s/ Brian C. Nash
                                                 Brian C. Nash




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